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 8
                            UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10
                          CENTRAL DISTRICT OF CALIFORNIA
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13    SHANNON SENSIBAUGH,                           Case No.: 2:20-cv-01068-MWF-PVC
14
      individually and on behalf of all other
                                                    [PROPOSED] ORDER GRANTING
      similarly situated,
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                                                    DEFENDANT’S MOTION TO
                                Plaintiff,          STAY PENDING BARR V. AAPC
16

17
            vs.                                     Hon. Michael W. Fitzgerald

18    EF EDUCATION FIRST, INC.                      Date:      April 6, 2020
19                                                  Time:      10:00 a.m.
                                Defendant.
                                                    Dept:      Courtroom 5A
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                                                    Complaint Filed: February 2, 2020
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          [PROPOSED] ORDER GRANTING MOTION TO STAY PENDING BARR V. AAPC
     Case 2:20-cv-01068-FLA-PVC     Document 12-3     Filed 02/28/20   Page 2 of 2 Page ID
                                           #:172



 1          Before this Court is EF Education First, Inc.’s (“Defendant”) Motion to Stay
 2    this action until the Supreme Court decides Barr v. American Association of
 3    Political Consultants Inc., 19-631 (Cert. Granted January 10, 2020; Oral Argument
 4    Scheduled for April 22, 2020). The Court finds a stay is appropriate because the
 5    Supreme Court’s decision may invalidate 47 U.S.C. § 227(b)(1)(A)(iii), and
 6    therefore
 7          IT IS HEREBY ORDERED that Defendant’s motion to stay the
 8    proceedings is GRANTED
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10    Dated:
11                                                Hon. Michael W. Fitzgerald
                                                  United States District Court Judge
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         [PROPOSED] ORDER GRANTING MOTION TO STAY PENDING BARR V. AAPC
